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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


RYAN MERHOLZ and MELVYN KLEIN,                  Case No.: 3:20-cv-00557-VAB
Derivatively on Behalf of WORLD WRESTLING
ENTERTAINMENT, INC.,

                           Plaintiffs,

      v.

VINCENT K. MCMAHON, STEPHANIE
MCMAHON, PAUL LEVESQUE, FRANK A.
RIDDICK, III, STUART U. GOLDFARB,
LAUREEN ONG, ROBYN W. PETERSON, MAN
JIT SINGH, JEFFREY R. SPEED, ALAN M.
WEXLER, GEORGE A. BARRIOS, and
MICHELLE D. WILSON,

                           Defendants,

      - and-

WORLD WRESTLING ENTERTAINMENT,
INC.,

                           Nominal Defendant.


DANIEL KOOI, Derivatively on Behalf of          Case No.: 3:20-cv-00743-VAB
WORLD WRESTLING ENTERTAINMENT,
INC.,

                           Plaintiff,
      v.

VINCENT K. MCMAHON, FRANK A.
RIDDICK, III, JEFFREY R. SPEED, PATRICIA
A.
GOTTESMAN, STUART U. GOLDFARB,
LAUREEN ONG, PAUL LEVESQUE, ROBYN W.
PETERSON, STEPHANIE MCMAHON, MAN JIT
SINGH, ALAN M. WEXLER, GEORGE A.


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BARRIOS, and MICHELLE D. WILSON,

                           Defendants,

      -and-

WORLD WRESTLING ENTERTAINMENT,
INC.,
                   Nominal Defendant.


RODNEY NORDSTROM, Derivatively on Behalf        Case No. 3:20-cv-00904-VAB
of WORLD WRESTLING ENTERTAINMENT,
INC.,

                           Plaintiff,

     v.

VINCENT K. MCMAHON, GEORGE A.
BARRIOS, MICHELLE D. WILSON,
STEPHANIE MCMAHON, PAUL
LEVESQUE, FRANK A. RIDDICK III,
STUART U. GOLDFARB,LAUREEN ONG,
ROBYN W. PETERSON, MAN JIT SINGH,
JEFFREY R. SPEED, ALAN M. WEXLER,
and PATRICIA A. GOTTESMAN,

                           Defendants,

      -and-

WORLD WRESTLING
ENTERTAINMENT,INC.,

                           Nominal Defendant.


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 RYAN B. MERHOLZ and NICHOLAS JIMENEZ,
 Derivatively on behalf Of WORLD WRESTLING       Case No. 3:21-cv-00789-VAB
 ENTERTAINMENT, INC.,

                            Plaintiffs,

        v.

 VINCENT K. MCMAHON, STEPHANIE
 MCMAHON, PAUL LEVESQUE, FRANK A.
 RIDDICK, III, STUART U. GOLDFARB,
 LAUREEN ONG, ROBYN W. PETERSON, MAN
 JIT SINGH, JEFFREY R. SPEED, ALAN M.
 WEXLER, GEORGE A. BARRIOS, and
 MICHELLE D. WILSON,

                            Defendants,

        -and-

 WORLD WRESTLING ENTERTAINMENT,
 INC.,

                            Nominal Defendant.

 JESSE REZENDES, Derivatively on Behalf of
 WORLD WRESTLING ENTERTAINMENT,                  Case No. 3:21-cv-00793-VAB
 INC.,

                            Plaintiff,

        v.

 VINCENT K. MCMAHON, GEORGE A.
 BARRIOS, and MICHELLE D. WILSON,

                            Defendants,

        -and-

 WORLD WRESTLING ENTERTAINMENT,
 INC.,

                            Nominal Defendant.

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    CITY OF PONTIAC POLICE AND FIRE                                 Case No. 3:21-cv-00930-VAB
    RETIREMENT SYSTEM, Derivatively on Behalf of
    WORLD WRESTLING ENTERTAINMENT, INC.,

                                     Plaintiff,

           v.

    VINCENT K. MCMAHON, GEORGE A.
    BARRIOS,
    and MICHELLE D. WILSON,

                                     Defendants,

           -and-

    WORLD WRESTLING ENTERTAINMENT, INC.,

                                     Nominal Defendant.



                         ORDER AND FINAL JUDGMENT APPROVING
                          SETTLEMENT OF DERIVATIVE ACTIONS

           The stockholder derivative actions captioned Merholz, et al. v. McMahon, et al., Case

    No. 3:20-cv-00557-VAB, Kooi v. McMahon, et al., Case No. 3:20-cv-00743-VAB, Nordstrom

    v. McMahon, et al., Case No. 3:20-cv-00904-VAB, Merholz, et al. v. McMahon, et al.,Case No.

    3:21-cv-00789-VAB, Rezendes v. McMahon, et al., Case No. 3:21-cv-00793-VAB, and City of

    Pontiac Police and Fire Retirement System v. McMahon, et al., Case No. 3:21-cv-00930-VAB

    (the “Federal Actions”) 1 are pending in this Court. Stockholder derivative and books-and-record

    actions captioned Leavy v. World Wrestling Entertainment, Inc., Case No. 2020-0907-KSJM,

    Dastgir v. McMahon, et al., Case No. 2021-0513-LWW, and Lowinger v. McMahon, et al., Case

    No. 2021-0656-LWW (the “Delaware Actions” and, together with the Federal Actions, the


1
  Unless otherwise defined in this Judgment, the capitalized terms herein shall have the same meaning as they have
in the Stipulation.


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“Actions”), are also pending in the Court of Chancery of the State of Delaware (the “Delaware

Court”).

       Plaintiffs in the Federal Actions and Delaware Actions: Ryan Merholz, Melvyn Klein

and/or his personal representative or Estate, Nicholas Jimenez, Rodney Nordstrom,Daniel Kooi,

City of Pontiac Police and Fire Retirement System (“Pontiac Police & Fire”), Jesse Rezendes,

Amer Dastgir, Bernard Leavy (who filed a books-and-records action), Robert Lowinger, and

Proposed Intervenor Dennis Palkon (collectively, “Shareholders”), on behalf of nominal

defendant World Wrestling Entertainment, Inc. (“WWE” or the “Company”); defendants in the

Federal Actions and Delaware Actions: Vincent K. McMahon, Stephanie McMahon, Paul

Levesque, Frank A. Riddick, III, Stuart U. Goldfarb, Laureen Ong, Robyn W. Peterson, Man Jit

Singh, Jeffrey R. Speed, Alan M. Wexler, George A. Barrios, Michelle D. Wilson, Patricia A.

Gottesman, and nominal defendant WWE (collectively, “Defendants”); and the demand review

committee (the “DRC”) established by the independent members of WWE’s board of directors

(the “Board”) to review the pre-suit litigation demands submitted to the Board by Robert

Lowinger, Rodney Nordstrom, Ryan Merholz, Nicholas Jimenez, Jesse Rezendes, and Pontiac

Police & Fire (the “Litigation Demands”) (Shareholders, Defendants, and the DRC, collectively,

the “Parties”), have determined to settle the Federal Actions, the Delaware Actions, and the

Litigation Demands (collectively, the “Claims”) on the terms and conditions set forth in the

Stipulation and Agreement of Settlement dated September 17, 2021 (the “Stipulation”), subject

to approval of this Court (the “Settlement”). Pls.’ Notice of Mot. and Mot. for Final Approval

of Settlement, ECF No. 111 (Nov. 17, 2021).

       The proposed Settlement includes WWE implementing Modified Corporate Governance

and Oversight Functions, that address the specific issues raised in the litigation, for a period of



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 at least seven years. Mem. of Law in Support of Pls.’ Mot. for Final Approval of Settlement at

 7-8, ECF No. 111-1 (Nov. 17, 2021) (“Pls.’ Mem.”). In addition, under the proposed

 Settlement, WWE agrees to adopt the Amended and Restated Insider Trading Policy (“Insider

 Trading Policy”), which, among other things, prohibits trading by directors, officers, or

 employees while they are in possession of nonpublic information and also prohibits the sharing

 of such material. Id. at 8. The Insider Trading Policy sets out preclearance requirements for

 transactions involving WWE’s securities by any person with a title of Executive Vice President

 or higher and also details penalties for noncompliance. Id. at 8-9. The Settlement likewise

 requires WWE to maintain the Insider Trading Policy for a period of at least seven years from

 the date of implementation. Id. at 9.

           Shareholders additionally seek approval of an award of attorneys’ fees and expenses

 equal to $3.65 million, which will be paid by the insurers of WWE and the Individual

 Defendants, and which no party opposes. Pls.’ Mem. at 13.

           Upon reviewing the Stipulation, all papers filed and proceedings held herein in

 connection with the Settlement, all oral and written comments received regarding the Settlement,

 and the record in the Federal Actions, and after conducting a fairness hearing on December 22,

 2021, the Court GRANTS Plaintiffs’ motion, and the Court FINDS, CONCLUDES, and

 ORDERS as follows.

     I.          BACKGROUND

          Shareholders brought these Actions for the benefit of WWE, against certain of its officers

and directors, alleging claims of breach of fiduciary duties, waste of corporate assets, and unjust

enrichment between February 7, 2019 and February 7, 2020. See Pls. Mem. at 4.

          The allegations concern Defendants’ internal reporting and public statements about “(1)



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the Company's dealings with Orbit Showcase Network ("OSN"); (2) WWE's attempts to secure a

new media distribution rights deal; and (3) the Company's vital business in the [Middle East and

North Africa (“MENA”)] region.” Id. According to Shareholders, Defendants learned that WWE

would lose its relationship with OSN, which was one of WWE’s “critical agreements in the

MENA region,” and yet Defendants “allegedly made false and misleading statements (and

improperly concealed certain matters) concerning WWE’s ability to expand” Id. Additionally, as

these statements were made, “certain of the Individual Defendants, including defendant Vincent

K. McMahon, the Company’s cofounder, Chairman, and Chief Executive Officer [ ], sold nearly

4 million shares of his personally held WWE stock.” Id. at 4-5.

         On October 20, 2021, the Court: (i) preliminarily approved the proposed Settlement, as

embodied in the Stipulation, subject to further consideration at the Settlement Hearing to be

conducted before the Court; (ii) ordered that notice of the proposed Settlement be provided to

holders of WWE common stock as of the date of entry of the Preliminary Approval Order

(“Current WWE Shareholders”); (iii) provided Current WWE Shareholders with the opportunity

to object to the proposed Settlement and Shareholders’ Counsel’s application for an award of

attorneys’ fees and litigation expenses; and (iv) scheduled a hearing regarding final approval of

the Settlement.

         Due and adequate notice has been given to Current WWE Shareholders. Pls.’ Notice of

Non-Objection in Supp. of Mot. for Final Approval of Settlement at 1-2, ECF No. 113 (Dec. 8,

2021).

         On December 22, 2021, the Court conducted a hearing (the “Settlement Hearing), to

consider, among other things: (i) whether the terms and conditions of the Settlement are fair,

reasonable, and adequate to the WWE and its shareholders, and should therefore be finally



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approved by the Court; (ii) whether a judgment should be entered dismissing the Federal Actions

with prejudice; and (iii) whether the application by Shareholders’ Counsel for an award of

attorneys’ fees and litigation expenses should be approved.

       This Judgment incorporates and makes a part hereof: (a) the Stipulation filed with the

Court on September 20, 2021; and (b) the Notice and Summary Notice, which were filed with

the Court on September 20, 2021.

       II.     STANDARD OF REVIEW

       “Before approving the settlement of a derivative action, the Court must be satisfied that

the compromise ‘fairly, and adequately serves the interests of the corporation on whose behalf

the derivative action was instituted.’” Mathes v. Roberts, 85 F.R.D. 710, 713 (S.D.N.Y. 1980)

(quoting Republic Nat’l Life Ins. Co. v. Beasley, 73 F.R.D. 658, 667 (S.D.N.Y. 1977)); see also

In re Metropolitan Life Derivative Litigation, 935 F. Supp. 286, 292 (S.D.N.Y. July 16, 1996)

[hereinafter Metro. Life] (“‘The central question [in deciding whether to approve the proposed

settlement] is whether the compromise is fair, reasonable, and adequate.’” (quoting Weinberger

v. Kendrick, 698 F.2d 61, 73 (2d Cir. 1982)). In deciding whether or not the compromise is fair,

reasonable, and adequate, the Court must consider both “the substantive terms of the

settlement” and whether “the negotiating process by which the settlement was reached” shows

that “the compromise [is] the result of arm’s-length negotiations.” Weinberger, 698 F.2d at 74.

       Specifically, the Court must consider a subsection of the factors set forth in Detroit v.

Grinnell Corp 495 F.2d 448, 463 (2d Cir. 1974). These factors are: “(a) the benefits achieved by

the [p]roposed Settlement; (b) the likelihood of success if the case were to be litigated; (c) the

potential recovery; (d) the likely duration and cost of continued litigation; (e) the quality of the

negotiating process and the views of counsel; and (f) the objections.” Metro. Life, 935 F. Supp.



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at 292; see also In re AOL Time Warner S’holder Derivative Litig., No. 02 CIV 6302 (SWK),

2006 WL 2572114, at *2 (S.D.N.Y. Sept. 6, 2006) (also considering a subset of Grinnell factors

to determine the fairness, reasonableness, and adequacy of a proposed settlement in a

shareholder derivative litigation).

        With respect to attorney’s fees awards, courts in the Second Circuit use one of two

different methods to analyze their reasonableness. Goldberger v. Integrated Res., 209 F.3d 43,

50 (2d Cir. 2000) (“In sum, we hold that both the lodestar and the percentage of the fund

methods are available to district judges in calculating attorneys’ fees in common fund cases.”);

see also McDaniel v. Cty. of Schenectady, 595 F.3d 411, 417 (2d Cir. 2010) (“[I]t remains the

law in this Circuit that courts may award attorneys’ fees in common fund cases under either the

‘lodestar’ method or the ‘percentage of the fund’ method.”) (internal quotation marks omitted).

The Second Circuit has also recognized the use of the lodestar “as a baseline even if the

percentage method is eventually chosen” and “encourage[d] the practice of requiring

documentation of hours as a ‘cross check’ on the reasonableness of the requested percentage.”

Goldberger, 209 F.3d at 50 (quoting In re Gen. Motors Corp. Pick-Up Truck Fuel Tank Prods.

Liab. Litig., 55 F.3d 768, 820 (3d Cir. 1995)); see also In re Colgate-Palmolive Co. ERISA Litig.,

36 F. Supp. 3d 344, 353 (S.D.N.Y. 2014) (“The lodestar cross-check works best as a sanity

check to ensure that an otherwise reasonable percentage fee would not lead to a windfall.”).

“Irrespective of which method is used, the ‘Goldberger factors’ ultimately determine the

reasonableness” of an attorney’s fee award in a class action settlement. Wal-Mart Stores, Inc. v.

Visa U.S.A., Inc., 396 F.3d 96, 121 (2d Cir. 2005). The six factors include: “(1) the time and

labor expended by counsel; (2) the magnitude and complexities of the litigation; (3) the risk of

the litigation . . . ; (4) the quality of representation; (5) the requested fee in relation to the



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settlement; and (6) public policy considerations.” Id. (citing Goldberger, 209 F.3d at 50).

       III.    DISCUSSION

       The Court begins by noting that it has jurisdiction over the subject matter of the

Federal Actions, and all matters relating to the Settlement, as well as personal jurisdiction over

the Parties and all WWE shareholders. See Merrill Lynch, Pierce, Fenner & Smith Inc. v.

Manning, 578 U.S. 374, 380 (2016) (“Like the Third Circuit, we read § 27 as conferring

exclusive federal jurisdiction of the same suits as “aris[e] under” the Exchange Act pursuant to

the general federal question statute.” (citing 28 U.S.C. § 1331)); In re Bristol-Myers Squibb

Derivative Litigation, No. 02 Civ. 8571(LAP), 2007 WL 959081, at *6 (S.D.N.Y. Mar. 30, 2007)

(“[D]efendant [ ] is subject to personal jurisdiction in this District based on its substantial

operations within this District.”); Messinger v. United Canso Oil and Gas Ltd., 80 F.R.D. 730,

734 (D. Conn. 1978) (“Unlike the truly adverse claims stated against ‘real’ defendants . . . the

naming of the derivative corporation as a party defendant raises no potentially harmful

consequences for the corporation, because plaintiff is acting solely for the corporation's benefit.

Due process is therefore satisfied so long as the corporation has notice of the suit.”).

       The Court also finds that the form and manner of providing the Notice: (i) was

implemented in accordance with the Preliminary Approval Order; (ii) constituted notice that

was reasonably calculated, under the circumstances, to apprise Current WWE Shareholders of

the pendency of the Claims, of the effect of the proposed Settlement (including the Releases to

be provided thereunder), of Shareholders’ Counsel’s motion for an award of attorneys’ fees and

litigation expenses, of their right to object to the Settlement and/or Shareholders’ Counsel’s

motion for attorneys’ fees and litigation expenses, and of their right to appear at the Settlement

Hearing; (iii) constituted due, adequate, and sufficient notice to all persons and entities entitled



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to receive notice of the proposed Settlement; and (iv) satisfied the requirements of Rule 23.1 of

the Federal Rules of Civil Procedure, the United States Constitution (including the Due Process

Clause), and all other applicable law and rules. See Papilsky v. Berndt, 466 F.2d 251, 257 (2d

Cir. 1972) (“In general, notice of a proposed dismissal of a derivative suit must be given to

nonparty stockholders when the corporate claim had not been adjudicated upon the merits.”);

Milliken on behalf of Hospitality Investors Trust, Inc. v. American Realty Capital Hospitality

Advisors, LLC, No. 18-cv-1757 (VEC), 2020 WL 3402816, at *3 (S.D.N.Y. 2020) (finding that

proper notice of the settlement was provided to stockholders where notice was similar to the

notice provided in the instant case); Bernstein v. Mediobanca Banca di Credito Finanziario-

Societa Per Azioni, 78 F.R.D. 1, 3 (S.D.N.Y. 1978) (“Rule 23.1 provides that the notice of

settlement shall be given in such manner as the court directs.”).

     A. Final Approval of the Terms of the Settlement

       Under, and in accordance with, Rule 23.1 of the Federal Rules of Civil Procedure, this

Court hereby fully and finally approves the Settlement set forth in the Stipulation in all respects

(including, without limitation: the Settlement consideration, the Releases provided for therein,

and the dismissal withprejudice of the claims asserted in the Federal Actions), and finds that the

Settlement is, in all respects, fair, reasonable, and adequate to WWE and its shareholders.

       The Court concludes that the balance of the Grinnell factors set forth in Detroit v.

Grinnell Corp, and considered by other courts in this Circuit in similar stockholder derivative

actions, weigh in favor of approving the Settlement Agreement. Grinnell, 495 F.2d at 463;

Metro. Life, 935 F. Supp. at 292; see also In re AOL Time Warner S’holder Derivative Litig.,

2006 WL 2572114, at *2.




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      1. Benefits Achieved by the Proposed Settlement

      The first factor, which requires the Court to consider the benefits achieved by the

proposed settlement considering the risks of litigation, weighs in favor of approval in light of

the corporate governance reforms that will be implemented while simultaneously avoiding the

costs of protracted litigation. See Metro. Life, 935 F. Supp. at 292 (“Likewise, the other

improvements in MetLife’s sales compliance practices, some already adopted, will surely help

prevent recurrence of the sales practices that led to the regulatory actions and ultimately this

lawsuit.”); In re Pfizer Inc. S'holder Derivative Litig., 780 F. Supp. 2d 336, 342 (S.D.N.Y.

2011) (approving settlement of stockholder derivative action where the corporate benefits

included "a significantly improved institutional structure for detecting and rectifying the types

of wrongdoing that have, in recent years, caused extensive harm to the company").

      2. Likelihood of Success

      “One of the Court’s central inquiries when appraising a settlement is the likelihood that

the class would prevail at trial in the face of the risks presented by further litigation.” In re AOL

Time Warner, No. MDL 1500, 02 Civ. 5575 (SWK), 2006 WL 903236, at *11 (S.D.N.Y. Apr.

6, 2006). In determining the risks of establishing liability and damages, courts need not

“adjudicate the disputed issues or decide unsettled questions; rather, [courts] need only assess

the risks of litigation against the certainty of recovery under the proposed settlement.” In re

Global Crossing Securities and ERISA Litig., 225 F.R.D. 436, 459 (S.D.N.Y 2004) (citing In

re Austrian and German Bank Holocaust Litig., 80 F. Supp. 2d 164, 177 (S.D.N.Y. 2000)).

      The complexities and challenges of the litigation weigh in favor of approving settlement.

“Litigation inherently involves risk.” In re PaineWebber Ltd. P’ships Litig., 171 F.R.D. 104,

126 (S.D.N.Y.), aff’d., 117 F.3d 721 (2d Cir. 1997) (per curiam); see also Velez v. Novartis


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 Pharm. Corp., No. 04 CIV 09194 CM, 2010 WL 4877852, at *14 (S.D.N.Y. Nov. 30, 2010)

 ("As federal courts in this Circuit have consistently recognized, litigation inherently involves

 risks, and the purpose of settlement is to avoid uncertainty."). The Court also notes that it has

 already dismissed three of the derivative actions.

       3. Potential Recovery

       The Court concludes that this factor “standing alone, does not suggest that the settlement

is unfair,” especially where the “other Grinnell factors weigh heavily in favor of settlement[.]”

D’Amato v. Deutsche Bank, 236 F.3d 78, 86 (2d Cir. 2001). Therefore, given the application of

the other Grinnell factors in this case, the Court need not determine whether Defendants could

have withstood a larger judgment, and may still approve the settlement agreement. Accord

Kemp-DeLisser v. Saint Francis Hosp. & Med. Ctr., No. 15-cv-1113 (VAB), 2016 WL 6542707,

at *10 (D. Conn. Nov. 3, 2016) (“Thus, even if the Defendants here could afford to pay more

than the $107 million Settlement Amount, this does not prevent the Court from approving this

Settlement as fair and reasonable.”).

       4. Likely Duration and Cost of Continued Litigation

       The Court finds that litigation would be complex, expensive, and extensive because the

 parties would still have to litigate intervention, tentative motions to dismiss, tentative summary

 judgment motions, and the merits of the case, at trial and potentially on appeal. See Metro. Life,

 935 F. Supp. at 294 (“In view of the effort and expense that would be required to take this case

 to and through trial, settlement would undoubtedly be in the best interest of all the parties and

 policyholders.”); Velez, 2010 WL 4877852, at *14 ("As federal courts in this Circuit have

 consistently recognized, litigation inherently involves risks, and the purpose of settlement is to

 avoid uncertainty."). The outcome of litigation would be uncertain. In re PaineWebber Ltd.


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 P’ships Litig., 171 F.R.D. at 126 (“Litigation inherently involves risk.”).

        5. Quality of the Negotiating Process

        “A ‘presumption of fairness, adequacy, and reasonableness may attach to a class

settlement reached in arm’s-length negotiations between experienced, capable counsel after

meaningful discovery.’” Visa U.S.A., 396 F.3d at 116 (quoting MANUAL FOR COMPLEX

LITIGATION, THIRD § 30.42 (1995)). The Court is satisfied that the proposed Settlement is the

product of arm’s-length negotiation and therefore concludes that the presumption of fairness

applies. This factor therefore weighs in favor of approval.

        6. Objections

        As to the final Grinnell factor considered in shareholder derivative actions, the Court

finds it notable that no WWE stockholder voiced disapproval in response to the Notice

disseminated in accordance with the procedures set out in the Preliminary Approval Order. Pls.’

Notice of Non-Objection in Supp. of Mot. for Final Approval of Settlement at 1-2, ECF No. 113

(Dec. 8, 2021).

        Accordingly, the Grinnell factors weigh in favor of approval of this Settlement.

     B. Attorneys’ Fees and Costs

        The factors for determining the fairness and reasonableness of an attorney’s fee award

are: “(1) the time and labor expended by counsel; (2) the magnitude and complexities of the

litigation; (3) the risk of the litigation . . . ; (4) the quality of representation; (5) the requested

fee in relation to the settlement; and (6) public policy considerations.” Visa U.S.A., Inc., 396

F.3d at 121 (citing Goldberger, 209 F.3d at 50).

        The Court finds that the first four factors weigh in favor of awarding the requested

attorneys’ fees and litigation expenses for the reasons discussed above and in the


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Memorandum of Law in Support of Plaintiffs’ Motion for Final Approval of Settlement. Pls.’

Mem. at 24-28. As to the fifth factor, the Court finds that the requested amount does not confer

on the attorneys an “unwarranted windfall.” Goldberger, 209 F.3d at 49 (“The express goal of

the Grinnell opinions was to prevent unwarranted windfalls for attorneys.”).

       In any event, the Court has reviewed the lodestar crosscheck of the fees and expenses

award requested. Id. at 50 (“Indeed, we encourage the practice of requiring documentation of

hours as a ‘cross check’ on the reasonableness of the requested percentage.” (quoting In re

Gen. Motors Corp. Pick-Up Truck Fuel Tank Prods. Liab. Litig., 55 F.3d 768, 820 (3d Cir.

1995)); see also Colgate-Palmolive, 36 F. Supp. 3d at 353 (“The lodestar cross-check works

best as a sanity check to ensure that an otherwise reasonable percentage fee would not lead to a

windfall.”). Having reviewed the lodestar crosscheck calculation, the Court concludes that a

1.72 lodestar multiplier is reasonable. See Visa U.S.A. Inc., 396 F.3d at 123 (affirming a

multiplier of 3.5); Bozak v. FedEx Ground Package Sys., Inc., No. 3:11-cv-00738-RNC, 2014

WL 3778211, at *7 (D. Conn. July 31, 2014) (collecting cases that have approved awards with

a lodestar multiplier of up to eight times the lodestar).

       The Court also finds that public policy favors this award because it will continue to

incentivize shareholder derivative actions that “protect the interests of the corporation from the

misfeasance and malfeasance of ‘faithless directors and managers.’” Kamen v. Kemper Fin.

Servs., Inc., 500 U.S. 90, 95 (1991) (quoting Cohen v. Beneficial Loan Corp., 337 U.S. 541

(1949)); see also In re Fab Universal Corp. S’holder Derivative Litig., 148 F. Supp. 3d at 284

(holding that an “[a]ward of attorney’s fees in excess of a 1.0 lodestar multiplier incentivizes

counsel to take [shareholder derivative] matters on contingency, further promoting compliance

with commercial law by increasing the likelihood of enforcement”); In re AOL Time Warner



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S’holder Derivative Litig., No. 02 Civ. 6302(CM), 2010 WL 363113, at *23 (S.D.N.Y. Feb. 1,

2010) (fee awards incentivize “future counsel to devise remedies as an alternative to money,

strengthening corporate America in the long run through innovation and prophylaxis”).

       Accordingly, Shareholders’ Counsel are hereby awarded attorneys’ fees and litigation

expenses in the total amount of $3,650,000 (the “Fee and Expense Award”), a fair and

reasonable sum after considering the factors outlined in Goldberger v. Integrated Resources,

Inc., 209 F.3d 43, 50 (2d Cir. 2000). WWE shall cause its insurers to pay the full amount of the

Fee and Expense Award in accordance with the terms of the Stipulation.

       No proceedings or court order with respect to the award of attorneys’ fees and litigation

expenses to Shareholders’ Counsel, shall in any way disturb or affect this Judgment (including

precluding this Judgment from being Final or otherwise being entitled to preclusive effect), and

any such proceedings or court order shall be considered separate from this Judgment.

       IV.     CONCLUSION
       Accordingly, the Parties are directed to implement, perform, and consummate the

Settlement in accordance with the terms and provisions contained in the Stipulation. The terms of

the Stipulation and of this Judgment shall be forever binding on the Parties and WWE

shareholders, as well as their respective successors and assigns.

       The Federal Actions are hereby dismissed with prejudice. The Parties shall bear their own

costs and expenses, except as otherwise expressly provided in the Stipulation.

       The Releases set forth in paragraphs 4 and 5 of the Stipulation, together with the

definitions contained in paragraph 1 of the Stipulation relating thereto, are expressly

incorporated herein in all respects. The Releases are effective as of the Effective Date.

Accordingly, this Court orders that:



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                 (i)     Without further action by anyone, upon the Effective Date of the

  Settlement, Shareholders on behalf of themselves and, by operation of law, representatively on

  behalf of WWE and all of its shareholders in their capacity as shareholders (together with

  Shareholders, “Shareholders’ Releasors”) shall release, and Shareholders’ Releasors shall

  forever be barred and enjoined from prosecuting, any and all Released Shareholders’ Claims

  against the Released Defendants’ Persons.

                 (ii)    Without further action by anyone, upon the Effective Date of the

  Settlement, Defendants and the DRC, on behalf of themselves and, by operation of law,

  representatively on behalf of the other Released Defendants’ Persons (together with Defendants

  and the DRC, “Defendants’ Releasors”) shall release, and Defendants’ Releasors shall forever

  be barred and enjoined from prosecuting, any and all Released Defendants’ Claims against the

  Released Shareholders’ Persons.

       Notwithstanding the above, nothing in this Judgment shall bar any action by any of the

Parties to enforce or effectuate the terms of the Stipulation or this Judgment. The Court also

finds and concludes that the Shareholders, Defendants, and their respective counsel have

complied in all respects with the requirements of Rule 11 of the Federal Rules of Civil

Procedure in connection with the institution, prosecution, defense, and settlement of the

Actions.

       Neither this Judgment, the Term Sheet, the Stipulation (whether or not consummated),

including the exhibits thereto, the negotiations leading to the execution of the Term Sheet and the

Stipulation, nor any proceedings taken pursuant to or in connection with this Judgment, the Term

Sheet, the Stipulation, and/or approval of the Settlement (including any arguments proffered in

connection therewith):



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                   (iii)   shall be offered against any of the Released Defendants’ Persons as

 evidence of, or construed as, or deemed to be evidence of any presumption, concession, or

 admission by any of the Released Defendants’ Persons with respect to the truth of any fact alleged

 by Shareholders or the validity of any claim that was or could have been asserted or the deficiency

 of any defense that has been or could have been asserted in the Claims or in any other litigation,

 or of any liability, negligence, fault, or other wrongdoing of any kind of any of the Released

 Defendants’ Persons or in any way referred to for any other reason as against any of the Released

 Defendants’ Persons, in any civil, criminal, or administrative action or proceeding, other than

 suchproceedings as may be necessary to effectuate the Settlement; or

                   (iv)    shall be offered against any of the Released Shareholders’ Persons as

 evidence of, or construed as, or deemed to be evidence of any presumption, concession, or

 admission by any of the Released Shareholders’ Persons that any of their claims are without

 merit, that any of the Released Defendants’ Persons had meritorious defenses, or that damages

 recoverable under the Complaint would not have exceeded the Settlement consideration or with

 respect to any liability, negligence, fault, or wrongdoing of any kind, or in any way referred to

 for any other reason as against any of the Released Shareholders’ Persons, in any civil, criminal,

 or administrative action or proceeding, other than such proceedings as may be necessary to

 effectuate the Settlement; provided, however, that the Parties, the Released Persons, and their

 respective counsel may refer to this Judgment and the Stipulation to effectuate the protections

 from liability granted under this Judgment and the Stipulation or otherwise to enforce the terms of

 the Settlement.

       Without affecting the finality of this Judgment in any way, this Court retains continuing

and exclusive jurisdiction over the Parties and WWE shareholders for purposes of the



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administration, interpretation, implementation, and enforcement of the Settlement.

       Without further approval from the Court, the Parties are hereby authorized to agree to

and adopt such amendments or modifications of the Stipulation or any exhibits attached thereto

to effectuate the Settlement that: (i) are not materially inconsistent with this Judgment; and (ii)

do not materially limit the rights of WWE or its shareholders in connection with the Settlement.

Without further order of the Court, the Parties may agree to reasonable extensions of time to

carry out any provisions of the Settlement.

       If the Settlement is terminated as provided in the Stipulation, this Judgment shall be

vacated and rendered null and void, and shall be of no further force and effect, except as

otherwise provided by the Stipulation, and this Judgment shall be without prejudice to the rights

of the Parties or WWE shareholders, and Shareholders, Defendants, and the DRC shall revert to

their respective positions in the Claims as of immediately prior to the execution of the Term

Sheet on August 16, 2021, as provided in the Stipulation.

       The Clerk of Court is respectfully directed to enter judgment, consistent with this Ruling

and Order, and to close this case.

          SO ORDERED at Bridgeport, Connecticut, this 23rd day of December, 2021.


                                                        /s/ Victor A. Bolden
                                                      VICTOR A. BOLDEN
                                                      UNITED STATES DISTRICT JUDGE




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